
PER CURIAM.
Casseus appeals from the summary denial of his Florida Rule of Criminal Procedure 3.850 motion. We find that 1) appellant’s contentions, that his counsel was ineffective in failing to inform Casseus of the possibility of deportation as a result of his guilty pleas and that his pleas were made involuntary as a result of this lack of information, are valid grounds for collateral relief from his guilty pleas, see Ginebra v. State, 498 So.2d 467 (Fla. 3d DCA 1986); Edwards v. State, 393 So.2d 597 (Fla. 3d DCA 1981), and 2) appellant sufficiently alleges facts which, if proven, would support his prayer for relief. Since the trial court failed to attach those portions of the record which would demonstrate that Cas-seus is not entitled to relief, we
Reverse and remand for further proceedings in accordance with Ginebra, Edwards, and Rule 3.850.
